The court incorporates by reference in this paragraph and adopts as the findings
and orders of this court the document set forth below. This document was signed
electronically on August 5, 2019, which may be different from its entry on the record.



IT IS SO ORDERED.                                              ENTERED UNDER ADMINISTRATIVE
                                                               ORDER NO. 02-10: JOSIAH C. SELL,
                                                               ACTING CLERK OF BANKRUPTCY COURT
                                                               BY: ____________________________
                                                                   /s/ Michael Gaughan
Dated: August 5, 2019                                              Deputy Clerk



                                            UNITED STATES BANKRUPTCY COURT
                                               NORTHERN DISTRICT OF OHIO
                                                    EASTERN DIVISION

   In re: Eric Fischer                                          )   Case No. 19-12846
          Tamara Fischer                                        )
                                                                )   Judge: Arthur I Harris
                                                                )
                                   Debtor(s)                    )   CHAPTER 13
                                                                )
   Social Security No. XXX-XX- 7791                             )   AMENDED ORDER DIRECTING EMPLOYER
                                                                )   TO MAKE DEDUCTIONS FROM
                                                                )   DEBTOR-EMPLOYEE'S WAGES,
                                                                )   COMBINED WITH RELATED ORDERS

    To:   Installed Building Products

            The above name debtor has filed bankruptcy under Chapter 13 of the Bankruptcy Code. As a result, all of the
   Debtor’s future earnings are under the exclusive jurisdiction of this Court. Based on the Debtor’s filings, the Debtor’s
   employer is:

   Employer’s Name:          Installed Building Products
   Address:                  495 South High Street, #50
   City/State/Zip:           Columbus, Ohio 43215
   Phone:                    (614) 221-3399 X 2274

            In accordance with the relevant provisions of the Debtor’s proposed plan,

           IT IS, THEREFORE, ORDERED, under 11 U.S.C. § 1325(c) and § 1326, that the Debtor’s employer
   immediately deduct $ 1300.00            per month and the same amount each month thereafter from the Debtor’s
   wages, salary, commissions, and all other earnings or income and promptly forward the amounts deducted to the
   Chapter 13 Trustee until further order of this court. The Chapter 13 Trustee’s name and payment address are:

                                               Lauren Helbling, Chapter 13 Trustee
                                                         P.O. Box 593
                                                    Memphis, TN 38101-0593
                                  Include the case number shown above with all payments.

            IT IS FURTHER ORDERED, under 11 U.S.C. § 362(a), that the EMPLOYER SHOULD CEASE ALL FURTHER
   DEDUCTIONS FOR GARNISHMENT, WAGE ASSIGNMENTS, OR CREDIT UNIONS unless specifically authorized by
   this Court or until this Order is modified or vacated; however, deductions for child support ordered by the Common Pleas
   Court or Domestic Relations Court may continue.

           IT IS FURTHER ORDERED that if the Debtor’s employment terminates during the term of the bankruptcy plan,
   the employer is to notify the Chapter 13 Trustee.

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  By submitting this form the debtor’s attorney certifies that this form is identical in all respects to the official form.

                 Attorney for Debtor:         /s/ William J. Balena (0019641)
                 Address:                     30400 Detroit Rd., #106
                 City/State/Zip:              Westlake, Ohio 44145
                 Phone:                       440-365-2000

                                            SEE ATTACHED CERTIFICATE OF SERVICE
  Revised March 1, 2011




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                                                      SERVICE LIST



  Lauren Helbling, Chapter 13 Trustee, via ecf at ch13trustee@ch13cleve.com


  William J. Balena (0019641)
  Attorney for Debtor(s)
  (via e-mail at docket@ohbksource.com)


  Eric & Tamara Fischer, 1625 South Abbe Road, Elyria, Ohio 44035

  Installed Building Products, 495 South High Street, #50, Columbus, Ohio 43215

                                                            ###




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